                        UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRIT OF NORTH CAROLINA
                            CHARLOTTE DIVISION
                                 3:16-CV-875-GCM


HILDA BATES, as Administrator                      )
of the Estate of Neman T. Bates,                   )
                                                   )
                               Plaintiff,          )
                                                   )
       v.                                          )                    ORDER
                                                   )
TIPPMANN SPORTS, et al,                            )
                       Defendants.                 )
                                                   )

         THIS MATTER IS BEFORE THE COURT ON ITS OWN MOTION. This case is
set for trial on Monday, September 9, 2019, at 10:00 a.m. The parties are hereby directed as
follows:

1.     By August 12, 2019 at 4:00 P.M. the parties are required:

       (a) To discuss the possibility of settlement.

       (b) To make all pretrial disclosures in compliance with Fed. R. Civ. P. 26(a)(3).

       (c) To agree to the extent possible on the authenticity of exhibits.

       (d) To agree upon the issues for the jury. If counsel cannot agree, each party should
            submit its own proposed issues.

       (e) To file a trial brief, a joint statement of the issues remaining for trial, request for voir
            dire and proposed jury instructions.

       (f) To file proposed findings of fact and conclusions of law in all non-jury matters.

2.     You will be expected to comply with the provisions of the pretrial order regarding trial
       preparation. COUNSEL ARE NOTIFIED THAT FAILURE TO COMPLY WITH
       DEADLINES WILL RESULT IN SANCTIONS.

3.     All cases are subject to call for trial when reached, regardless of their position on the
       calendar. The jury will be selected on Monday, September 9, 2019.

4.     Issue any needed subpoenas immediately upon receipt of this calendar.

5.     When presenting judgments or orders for the trial judge’s signature, you are required to
       submit them in Microsoft Word via CyberClerk.



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6.   Exhibits: Parties are expected to use presentation technology available in the courtroom
     to display evidence to the jury. Training on the equipment should be arranged well in
     advance of trial with the courtroom deputy. See “Courtroom Technology” link on the
     district website at www.ncwd.uscourts.gov. Counsel shall provide in electronic format
     any exhibits of documents, photographs, videos, and any other evidence that may be
     reduced to an electronic file, for the use of Court personnel and the Court’s Jury Evidence
     Recording System (JERS) during trial. Documents and photographs shall be in .pdf, .jpg,
     .bmp, .tif, or .gif format; video and audio recordings shall be in .avi, .wmv, .mpg, .mp3,
     .mp4, .wma, .wav or .3gpp format. Each electronic exhibit shall be saved as a separate,
     independent file, and provided to the Court on a storage device, such as cd, dvd, or flash
     drive. Exhibit files shall be named consistent with their order and name on the exhibit
     list. For example:
            Exhibit 1 - photograph of....

            Exhibit 2(a) - contract

            Exhibit 2(b) - video deposition of....

7.   If you have or discover a serious objection to trial which you think ought to result in a
     postponement, please file your motion to continue electronically.

IT IS SO ORDERED.

                                       Signed: July 11, 2019




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